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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA

                v.                                   Criminal No. 18-292

 ROBERT BOWERS

                                          ORDER

                             21st day of June 2022, upon consideration of the Government=s
       AND NOW, to wit, this ______

Motion to Withdraw Appearance, filed by Assistant United States Attorneys Soo C. Song and Troy

Rivetti, it is hereby ORDERED that said Motion is GRANTED, and that Assistant United States

Attorney Haley Warden-Rogers be terminated forthwith as counsel of record for the government

in the above-captioned criminal action.

                                           BY THE COURT:



                                            s/Robert J. Colville
                                           ____________________________________
                                           HONORABLE ROBERT J. COLVILLE
                                           United States District Judge


cc: All Counsel of Record
